     Case 3:23-cv-01304-BAJ-EWD              Document 263         06/07/25      Page 1 of 3




                    IN THE UNITED STATES DISTRICT COURT FOR
                        THE MIDDLE DISTRICT OF LOUISIANA


 VOICE OF THE EXPERIENCED, a
 membership organization on behalf of itself
 and its members; and MYRON SMITH,
 DAMARIS JACKSON, NATE WALKER,
 DARRIUS WILLIAMS, KEVIAS HICKS,
 JOSEPH GUILLORY, KENDRICK
 STEVENSON, and ALVIN WILLIAMS,
 on behalf of themselves and all others                Civil Action No.: 3:23-cv-1304-BAJ-
 similarly situated,                                   EWD

                   Plaintiffs,

        v.

 JAMES LEBLANC, in his official capacity
 as Secretary of the Louisiana Department of
 Public Safety and Corrections; TIMOTHY
 HOOPER, in his official capacity as
 Warden of Louisiana State Penitentiary;
 MISTY STAGG, in her official capacity as
 Director of Prison Enterprises, Inc.; the
 LOUISIANA DEPARTMENT OF
 PUBLIC SAFETY & CORRECTIONS;
 and PRISON ENTERPRISES, INC.

                   Defendants.


        PLAINTIFFS’ MOTION FOR EXPEDITED CONSIDERATION OF
    MOTION TO EXTEND TEMPORARY RESTRAINING ORDER PURSUANT TO
              FEDERAL RULE OF CIVIL PROCEDURE 65(b)(2)

       NOW COME PLAINTIFFS in the above-captioned matter, through undersigned counsel,

who move this Honorable Court to consider on an expedited basis in light of the substantial risk

of serious heat-related harm posed by the conditions on the Farm Line, Plaintiffs’ Motion to Extend

Temporary Restraining Order Pursuant to Federal Rule of Civil Procedure 65(b)(2). For reasons

detailed in the Motion, good cause exists to grant an extension of the temporary restraining order

issued by the Court on May 23, 2025. Swift resolution of this Motion will ensure that the health
     Case 3:23-cv-01304-BAJ-EWD             Document 263       06/07/25     Page 2 of 3




and safety of Plaintiffs are protected as the Court considers Plaintiffs’ pending motion for a

preliminary injunction.

       Respectfully submitted this 7th day of June,




                                           THE PROMISE OF JUSTICE INITIATIVE

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                                           RIGHTS BEHIND BARS

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                                               2
Case 3:23-cv-01304-BAJ-EWD    Document 263        06/07/25     Page 3 of 3



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